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                                  UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH


        UNITED STATES OF AMERICA,                    ORDER CONTINUING JURY TRIAL AND
                                                     EXCLUDING TIME UNDER THE SPEEDY
                       Plaintiff,                               TRIAL ACT

                             v.                                   Case No. 1:23-cr-6

    TADASHI KURA KOJIMA, aka AARON                              Howard C. Nielson, Jr.
           MICHAEL ZEMAN,                                     United States District Judge

                     Defendant.


        Having considered Defendant’s motion to continue jury trial, the court hereby finds as

follows:

        Defendant was arraigned on August 21, 2023, and trial was scheduled for October 24,

2023, which was within the 70 days allowed under the Speedy Trial Act. See Dkt. No. 10. Trial

is now scheduled to begin on August 20, 2024. See Dkt. No. 29. Defense counsel moves to

continue the trial. See Dkt. No. 31. Defendant is in custody. He has been consulted regarding this

motion and agrees with the Need for a continuance. The Government does not object to the

proposed continuance. There are no co-defendants.

        Defense counsel represents that the parties are still working toward a global resolution of

this matter and state charges in Nebraska with the authorities from that State. Defense counsel

further reports that he has had several important conversations with Mr. Kojima’s attorney in

Nebraska regarding a global resolution and is optimistic that a resolution will be reached with an

additional 90 days. If an agreement cannot be reached, counsel will of course need additional

time to prepare for trial.



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            Based on these representations, the court finds that failure to grant a continuance would

 result in a miscarriage of justice and deny counsel “the reasonable time necessary for effective

 preparation, taking into account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(i) and

 (iv). The court finds that the length of the requested continuance is reasonable and reasonably

 related to the reasons for the continuance. For these reasons, the court finds that the ends of

 justice served by such a continuance outweigh the best interests of the public and the defendant

 in a speedy trial. Accordingly, the court finds that there are facts that support a continuance of

 the trial date in this matter, and good cause for excluding time under the Speedy Trial Act, 18

 U.S.C. § 3161 et seq.

 THEREFORE, FOR GOOD CAUSE SHOWN:

       1.          The trial in this matter is continued to December 10, 2024.

       2.          The time period from July 26, 2024, to December 10, 2024, inclusive, is excluded

in computing the time within which the trial must commence, pursuant to 18 U.S.C.

§§ 3161(h)(1)(D), (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).

       IT IS SO ORDERED.

                                                  Dated this 12th day of August, 2024.
                                                  BY THE COURT:


                                                  _____________________________
                                                  Howard C. Nielson, Jr.
                                                  United States District Judge




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